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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

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                                   7     MARK VASQUEZ PAJAS, et al.,                       Case No. 16-cv-00945-BLF
                                   8                     Plaintiffs,
                                                                                           JUDGMENT
                                   9             v.

                                  10     COUNTY OF MONTEREY, et al.,
                                  11                     Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          In accordance with the jury’s verdict filed on February 15, 2019, and attached hereto,

                                  14          It is hereby ordered and adjudged that Plaintiffs Estate of Mark Vasquez Pajas, Sr.,

                                  15   Rosemary Lopez, Yvette Pajas, Mark Pajas, Jr., Janel Pajas, and Xavier Pajas take nothing by this

                                  16   action from Defendants California Forensic Medical Group and Christina Kaupp,

                                  17          and that

                                  18          Judgment is hereby entered for Defendants California Forensic Medical Group and

                                  19   Christina Kaupp, and against Plaintiffs Estate of Mark Vasquez Pajas, Sr., Rosemary Lopez,

                                  20   Yvette Pajas, Mark Pajas, Jr., Janel Pajas, and Xavier Pajas.

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                                  22   Dated: February 20, 2019

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                                                                                       BETH LABSON FREEMAN
                                  24                                                   United States District Judge
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